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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )         Case No. 4:06CR00249 RWS (AGF)
                                                )
KRISTOPHER MICHAEL SONON and                    )
ARNOLD WINSTON WILSON, JR.                      )
                                                )
            Defendants.                         )


                                              ORDER

       On motion of Defendant Kristopher M. Sonon to continue the hearing (Doc. #34) and for

additional time to file motions (Doc. #35),

       IT IS HEREBY ORDERED that Defendant Sonon shall have until May 3, 2006, to file

any motions or waiver of motions. The Government shall have until May 10, 2006, to respond.

       IT IS FURTHER ORDERED that the Evidentiary Hearing as to both Defendant

Kristopher Michael Sonon and Defendant Arnold Winston Wilson, Jr., shall be continued to

Thursday, May 11, 2006, at 9:00 a.m.



                                              ______________________________________
                                              AUDREY G. FLEISSIG
                                              United States Magistrate Judge

Dated this 27th day of April, 2006.
